          Case 2:21-cv-01170-AMM Document 35 Filed 05/18/22 Page 1 of 5                      FILED
                                                                                    2022 May-18 AM 10:09
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

JOSEPH MESSINA,                            )
                                           )
          Plaintiff,                       )
                                           )
v.                                         ) Case No.: 2:21-CV-1170 AMM
                                           )
TITLEMAX OF ALABAMA,                       )
INC.; MVCONNECT, LLC; and                  )
ALLSTAR RECOVERY, LLC                      )
                                           )
          Defendants.                      )


                               SCHEDULING ORDER

      The court enters this order under Federal Rule of Civil Procedure 16(b) based
on the parties’ report of a planning meeting. Doc. 34. This order governs further
proceedings in this action unless modified for good cause shown.

      Extensions for the deadlines set to complete all discovery and file
dispositive motions will not be granted absent extraordinary cause. In the event
extraordinary cause is shown, only one extension will be granted.

     I.     PLEADINGS AND PARTIES: Unless a party’s pleading may be
            amended as a matter of course pursuant to Federal Rule of Civil Procedure
            15(a), the party must file a motion for leave to amend. Such motion for
            leave to amend shall state with specificity those matters the party wishes
            to add or delete and shall contain, attached as an exhibit, the complete and
            executed amended pleading, suitable for filing. The motion for leave to
            amend, with the attached amended pleading, must be served in accordance
            with Federal Rule of Civil Procedure 5.

            No causes of action, defenses, or parties may be added after July 1, 2022
            as to plaintiff and August 12, 2022 as to defendants.
      Case 2:21-cv-01170-AMM Document 35 Filed 05/18/22 Page 2 of 5




II.    DISCOVERY LIMITATIONS AND DEADLINES
       A. Depositions:                      Maximum of 5 by each party
                                            (excluding experts and parties). Each
                                            deposition is limited to a maximum of
                                            seven hours.
          Interrogatories:                  Maximum of 25 by any party directed
                                            to any other party.
          Requests for Production:          Maximum of 25 by any party directed
                                            to any other party.

          Requests for Admission:           Maximum of 25 by any party directed
                                            to any other party.

       B. Expert Testimony: Unless modified by stipulation of the parties, the
          disclosures of expert witnesses—including a complete report under
          Federal Rule of Civil Procedure 26(a)(2)(B) from any specially retained
          or employed expert—are due:

          From plaintiff:            by September 23, 2022

          From defendants:           by October 21, 2022


       C. Supplementation: Supplementation of disclosures and discovery
          under Federal Rule of Civil Procedure 26(e) is due within a reasonable
          period of time after discovery of such information (which ordinarily
          will be within twenty-one days of counsel becoming aware of the need
          to supplement), but in any event all such supplementation shall be
          provided no later than thirty days before the close of discovery.
       D. Discovery Deadline:   All discovery must be commenced in time to
          be completed by November 30, 2022.

       E. Clawback Agreement: The parties did not include a clawback
          agreement pursuant to Federal Rule of Evidence 502, in their Rule 26(f)
          Report. If it is determined at a later date that such an order is necessary,
          the parties should file a joint motion and provide a draft order, to the
          court, for its consideration.


                                        2
       Case 2:21-cv-01170-AMM Document 35 Filed 05/18/22 Page 3 of 5




        F. Motions About Discovery Disputes: Counsel for the moving party
           must confer in person or by telephone with opposing counsel to attempt
           to resolve their disagreements regarding discovery requests. If the
           parties are unable to resolve their dispute in that manner, then the party
           filing the motion for leave of the court shall describe all efforts taken to
           resolve the disputed matter and shall certify in the motion that the
           parties conferred pursuant to this order and were unable to reach an
           agreement. If an attorney makes a good faith effort but is unable to
           contact opposing counsel, then the attorney shall describe in the motion
           the attorney’s efforts to contact and coordinate with opposing counsel.
           Failure to include a statement of the parties’ attempt to resolve the
           matter without the court’s intervention may result in an automatic
           denial of the motion.

III.    DISPOSITIVE MOTIONS: All potentially dispositive motions and
        evidentiary submissions upon which a party will rely in support of the
        motion must be filed no later than December 30, 2022.

        The parties must file and brief all dispositive motions consistent with the
        initial order. Any motion for summary judgment must comply with all the
        requirements of Appendix II which is attached to the court’s initial order.
        Any other dispositive motion must comply with the requirements of
        Appendix II to the extent practicable.

        Compliance with this requirement will necessitate filing the evidentiary
        submission in support of the brief separately from the brief and may
        necessitate filing the evidentiary submission one or more days prior to
        filing the brief. Both the brief and evidentiary submission must be filed on
        or before the filing deadline.

IV.     EXTENSIONS: Absent extraordinary unforeseen circumstances, any
        motion for an extension of any deadline must be filed three or more days
        before the deadline sought to be extended. Motions for an extension of
        time that do not satisfy this requirement will ordinarily be automatically
        denied. Successive requests for extensions by the same party are
        disfavored.

        Any motion to extend the deadline to complete all discovery must state
        when the moving party first propounded discovery requests and/or noticed
        depositions and must include any other information that will help the court

                                         3
      Case 2:21-cv-01170-AMM Document 35 Filed 05/18/22 Page 4 of 5




       determine how effectively the parties have used the amount of time
       originally allowed for discovery.

V.     MEDIATION: Unless a party objects, the court will enter an order
       referring the parties to mediation and setting a deadline by which
       mediation must occur. Objections to mediation should be included in the
       joint status report as described in Part VI. As a general rule, if the court
       refers the case to mediation, the court will not stay discovery and
       dispositive motion deadlines.

VI.    JOINT STATUS REPORT: The parties shall file a joint status report on
       or before November 17, 2022 A Status Conference is set for Monday,
       November 21, 2022 at 11:30 AM by Zoom. The court will provide the
       zoom information to the parties, one week prior to the conference.

       The status report should state whether the parties object to mediation and
       include enough information to allow the court to understand the nature of
       the case, its current status, including any pending motions, and any current
       or anticipated problems in preparing the case for trial. Specifically, the
       court should be advised of the pertinent issues and the parties’ positions as
       to those issues. The status report should not be used to argue the party’s
       case, nor to present all possible legal theories; instead, the report should
       apprise the court of the case and current issues affecting trial preparation,
       including the status of critical discovery.

VII. PRETRIAL CONFERENCE: A pretrial conference will be scheduled as
     needed by separate order. Due dates for lists of trial witnesses, exhibits,
     and objections under Federal Rule of Civil Procedure 26(a)(3) shall be
     established as needed in a separate pretrial order.

VIII. TRIAL: The parties shall be ready for trial by April 2023. Trial will be
      scheduled by separate order.




                                       4
      Case 2:21-cv-01170-AMM Document 35 Filed 05/18/22 Page 5 of 5




IX.    NOTICE OF SETTLEMENT: The parties must notify the court within
       two business days of reaching any settlement.


  DONE and ORDERED this 18th day of May, 2022.



                               _________________________________
                               ANNA M. MANASCO
                               UNITED STATES DISTRICT JUDGE




                                    5
